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 9   REGIONAL COUNCIL OF CARPENTERS;
10   and JOHN TAFOYA

11
                               UNITED STATES DISTRICT COURT
12
                              CENTRAL DISTRICT OF CALIFORNIA
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15   SOUTHWEST REGIONAL COUNCIL ) CASE NO.
     OF CARPENTERS, a labor organization, )
16   and JOHN TAFOYA, an individual,      )
                                          ) COMPLAINT FOR:
17                  Plaintiffs,           )
                                          )
18                   v.                   )   1. Declaratory Relief Pursuant to
                                          )      28 U.S.C. § 2201, et seq.
19   THE CITY OF IRVINE, a municipality, )    2. Violation of Plaintiffs’ Constitutional
                                          )      Rights
20                  Defendant.            )   3. Violation of Plaintiffs’ Federally
                                          )      Protected Rights Under
21                                        )      42 U.S.C. § 1983
                                          )
22                                        ) JURY TRIAL DEMANDED
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29                                        COMPLAINT

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 1                                       INTRODUCTION
 2         1.     The City of Irvine (“City”) is a master planned city. Normally this pertained
 3   only to the zoning geography and building of the city. Under the current Supervisor of
 4   Code Enforcement Division, Keri Bullock, the City has become now the speech police –
 5   master planning what citizens can say to the public on a public sidewalk – a place “which
 6   ‘ha[s] immemorially been held in trust for the use of the public and, time out of mind,
 7   have been used for purposes of assembly, communicating thoughts between citizens, and
 8   discussing public questions.’” Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460
 9   U.S. 37, 45 (1983) quoting Hague v. CIO, 307 U.S. 496, 515 (1939).
10         2.     For years, the Plaintiffs have displayed banners in the City without prior
11   threats of censorship, speech confiscation or criminal sanction. That is until now.
12         3.     For example, as recently as last fall and early winter Plaintiffs displayed a
13   “labor dispute” banner on a public sidewalk in the City protesting Rivian. The banner
14   “shamed” Rivian for its involvement in the dispute. Because the City found the speech
15   acceptable it never challenged the Plaintiffs’ right to display its banner on the public
16   sidewalk.
17         4.     All that changed however, once the City did not agree with the content of the
18   Plaintiffs’ message. The current banners, in addition to pointing out the “labor dispute”
19   context, also questions whether there are “sex offenders in the neighborhood” and
20   whether residents, including children, are safe living where offenders are living, and
21   provides a QR Code that links to Meghan’s Law disclosure page so the readers can find
22   the answers to questions themselves. The Rivian banner in contrast did not mention “sex
23   offenders” or question whether the safety of a neighborhood.
24         5.     Not only has the City censored Plaintiffs’ speech it does not like, it has
25   likewise restricted speech based on content through its Sign Ordinance by expressly
26   exempting other favored speech. The City has exempted speech it views as consistent
27   with its master-planned censored discourse, including for example (a) its own
28   commercial speech, (b) corporate flags, and (c) the United States flag.
29                                            COMPLAINT
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 1          6.     Such government censorship, favoritism and discrimination is
 2   unconstitutional. They violate Plaintiffs’ constitutional and statutory rights to display a
 3   banner protesting a labor dispute and providing the public information in language that
 4   they deem appropriate.
 5          7.     The City needs to be held accountable for what it has done and also be
 6   enjoined from their unlawful conduct because “[t]he loss of First Amendment freedoms,
 7   for even minimal periods of time, unquestionably constitutes irreparable injury.” Elrod v.
 8   Burns, 427 U.S. 347, 373 (1976).
 9                                        JURISDICTION
10          8.     This action arises under the United State Constitution, particularly the First
11   and Fourteenth Amendments, under federal law, particularly 28 U.S.C. § 2201 and 42
12   U.S.C. §§ 1983 and 1988.
13          9.     This Court is vested with original jurisdiction over these federal claims by
14   operation of 28 U.S.C. §§ 1331 and 1343.
15          10.    This Court is vested with authority to grant the requested declaratory
16   judgment by operation of 28 U.S.C. § 2201, et seq.
17          11.    This Court is authorized to issue the requested injunctive relief pursuant to
18   42 U.S.C. § 1983 and Rule 65 of the Federal Rules of Civil Procedure.
19          12.    This Court is authorized to award attorneys’ fees. 42 U.S.C. § 1988.
20                                             VENUE
21          13.    Venue is proper in the United States District Court for the Central District of
22   California under 28 U.S.C. § 1391(b), in that the events giving rise to the claim occurred
23   within the district.
24                             IDENTIFICATION OF PLAINTIFFS
25          14.    Plaintiff Southwest Regional Council of Carpenters (“SWRCC”) is a labor
26   organization that engages in protest activities on public sidewalks in the City of Irvine.
27          15.    Plaintiff John Tafoya (“Tafoya”) is a representative of the SWRCC and
28   engages in protest activities on public sidewalks in the City of Irvine.
29                                            COMPLAINT
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 1       IDENTIFICATION OF DEFENDANT, ITS EMPLOYEES AND AGENTS
 2         16.    The City of Irvine (“City”) is a master-planned municipality authorized and
 3   organized under the laws of the State of California and located in Orange County.
 4   According to the California department of Finance 2019-2020 Population Estimates, the
 5   City of Irvine had approximately 277,000 residents.
 6         17.    The City has adopted Zoning Ordinance, including particularly a Sign
 7   Ordinance, Division 7.
 8         18.    Keri Bullock (“Bullock”) is the City’s Code Enforcement Supervisor and
 9   has either directly or through employees under her direction and control threatened to
10   enforce to cite, confiscate the banners and criminally prosecute SWRCC and its
11   representatives and agents, including Tafoya, for displaying the banners on City
12   sidewalks.
13         19.    Noam Duzman is the City’s attorney and has directly or indirectly through
14   the Code Enforcement department threatened enforce the sign ordinance against the
15   SWRCC and its representatives and agents, including Tafoya, (including citing,
16   confiscating the banners and criminally prosecuting) for displaying protest banners on
17   sidewalks in the City.
18         20.    The City acquiesces in, sanctions, and supports the actions of its Code
19   Enforcement department, including Bullock, and its attorneys, including Duzman.
20                                  STATEMENT OF FACTS
21         21.    For years Plaintiffs have peacefully protested “labor disputes” in the City by
22   displaying banners on public sidewalks. Recently, Plaintiffs have displayed two banners.
23   The banners are never left unattended but are physically manned at all times. At the end
24   of the day, the banners are taken home.
25         22.    Like the past banners, the current banners inform the public that there is a
26   “labor dispute.” But, instead of their typical “Shame On” banners shaming a participant
27   in the labor dispute, the current banners question the safety of the neighborhood in light
28   of the fact that sex offenders live nearby, as well as providing a QR Code linking to the
29                                             COMPLAINT
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 1   relevant information that underlies the question asked.
 2         23.       Never before has the City claimed that the Sign Ordinance (Zoning Code
 3   sec. 7-1-1 et seq.) applied to its banners or attempted to coerce Plaintiffs under threats of
 4   criminal sanction, fines and banner confiscation to stop entirely its banner display. That
 5   is until now.
 6         24.       The only difference from the prior banners is that the message on the current
 7   banners has changed—a message the City disapproves.
 8         25.       The City does not like the fact that the banners inform the public about
 9   sexual predators who live in the area and links to the Meghan’s Law website. The City
10   would prefer the public not know about this information because it may slow the sale of
11   homes in its master planned city and may show that its city may not as desirable a place
12   to live if such information is publicly displayed during the time open houses, along with
13   its approved real estate advertising, are being shown.
14         26.       The City also claims the banners are too large in violation of Zoning
15   Ordinance, Sign Type #106, which requires “commercial” speech signs be only 3 square
16   feet. But Sign Type #106 on its face does not apply. It applies only to “commercial
17   signs,” not “labor dispute” or “sexual predator” protest signs.
18         27.       The City defines “commercial” as “a business operated for financial gain.”
19   (Section 1-2-1). The City defines a “commercial sign” as a “sign that contains
20   commercial speech or a commercial message, and “commercial speech or commercial
21   message” to be a “message or image that proposes a commercial transaction and/or that
22   primarily concerns the economic interests of the speaker … or company that the speaker
23   represents.” (Section 1-2-1). Sign Type #106 also mandates that the “purpose” of the
24   “[s]ign must be associated with a legitimate commercial enterprise in the City of Irvine
25   for which permanent signs are not permitted.”
26         28.       Plaintiffs’ banners—on their face—do not meet these definitions. The
27   SWRCC is a non-profit labor organization. The banners’ language includes both “labor
28   dispute” and questions whether the neighborhood is safe from sexual predators or
29                                              COMPLAINT
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 1   whether sexual predators are in the neighborhood, along with a QR Code linking to the
 2   Meghan’s Law website for sexual offenders. The message does not propose a
 3   commercial transaction, or any transaction at all, and does not “primarily,” or otherwise,
 4   concern the economic interest of the Plaintiffs. The banners merely convey information.
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27         31.    Nor did the City engage in any investigation to establish any of the predicate
28   facts necessary to making a valid determination that Sign Type #106 applied prior to
29                                           COMPLAINT
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 1   making their unlawful threats to criminally charge and fine Plaintiffs, and confiscate the
 2   banners.
 3         32.    As a backup plan concocted solely by the City Attorney (Noam Duzman)
 4   after-the-fact, Duzman for the first time introduced the notion that maybe the banner, if
 5   not prescribed under Sign Ordinance #106 might be prescribed under Sign Type #107.
 6   This ordinance applies to “temporary non-commercial signs,” which are defined in the
 7   negative as “a sign that contains a non-commercial message, which is in turn is defined in
 8   the negative as “a message or image that is not commercial speech or a commercial
 9   message.” This ordinance was never relied on by the City’s Code Enforcement in
10   making its unlawful threats. Knowing this, City Attorney Duzman refused to say the City
11   relied on Sign Type #107 before making its unlawful threats, but “noted” that “if” the
12   banners were not commercial speech, he could pigeon-hole the banners into Sign Type
13   #107 and prohibit them that way.
14         33.    As between Sign Type #106 (“off-site commercial”) and Sign Type #107
15   (“off-site non-commercial”), off-site non-commercial signs (#107) are treated less
16   favorably in some way than off-site commercial signs. For instance, non-commercial
17   signs are limited in the length of time they can remain displayed to the event for which
18   they relate. (Sign Type #107 – “Signs for a specific event (e.g., election) may be
19   installed no earlier than 60 days prior to the event to which the sign relates and must be
20   removed no later than 10 days after the event to which the sign relates.) In the context of
21   the Plaintiffs’ banners, this means Plaintiffs could only display their banners for as long
22   as there is a labor dispute—as determined by the City. And, off-site commercial signs
23   (#106) are treated less favorably than off-site non-commercial signs (#107) in that
24   commercial signs are limited in the time they can be posted – 7 am to 7 pm – whereas
25   non-commercial signs do not contain that time restriction.
26         34.    City Attorney Duzman intervened because right away he recognized that the
27   banners on their face were not “commercial,” nor “commercial signs” nor “commercial
28   speech or [a] commercial message” and recognized the lack of investigation conducted
29                                            COMPLAINT
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 1   by the Code Enforcement department before making their unlawful threats.
 2         35.    Free speech is not free when the censor can jump around from reason to
 3   reason for the sole purpose of stifling disfavored speech .
 4         36.    In any event, Sign Type #106 allows signs to be a maximum of only 3
 5   square feet. (Sign Type #107 contains the same size restriction.) The lack of fit under
 6   any constitutional standard between this size restriction and the City’s purpose is plainly
 7   revealed by the pictures of the banner located at the corner of Cadence and Merit
 8   juxtaposed to the “TOURGPN.COM” banner and the miles and miles of fence signs
 9   posted in the Great Park Development by FivePoint, Lennar.
10         37.    The banner is displayed in front of the “TOURGPN.COM” banner that is
11   affixed to the fence. The Tourgpn.com banner is larger than the Plaintiffs’ banner, and
12   still the City believes that Plaintiffs’ banner must be only 3 sq. ft. Limited to only 3 sq.
13   ft. would cut down the Plaintiffs’ banner to include only 1 of the 2 QR codes, the “Labor
14   Dispute” statement would be reduced to “Disp” cutting through “sp”, and the “IN THE
15   NEIGHBORHOOD” statement would be reduced to only the word “IN”. See picture
16   above. In contrast, Lennar’s larger advertising banner would remain unmolested.
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29                                            COMPLAINT
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 1         39.    In addition, right next to the TourGPN.com banner begins the miles and
 2   miles of fence banners advertising Lennars’ FivePoint project.
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25         42.    The City cannot even meet a rational basis test (which does not apply) as to
26   why Lennar is allowed to display its larger banner and the miles and miles of banners but
27   limits Plaintiffs’ banner to a mere 3 sq. ft. (Note: the applicable test is strict scrutiny.)
28         43.    The City’s discrimination includes many other examples of favoring certain
29                                             COMPLAINT
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 1    speech without any valid fit to any possible justification to ban Plaintiffs’ banners. One
 2    need only drive around the City for an hour to see the hundreds, if not thousands, of
 3    signs—larger, smaller, multiple together, multiple on the same street block—that
 4    undercut any justification to limit non-commercial banners in general or prohibiting
 5    Plaintiffs’ banners specifically.
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29                                            COMPLAINT
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29                                        COMPLAINT
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 1          48.
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13          49.    In fact, in contrast to Sign Type #106’s 3 sq. ft. limit, Sign Type #18 allows
14    certain business identification “Wall Signs” to be “up to 200 square feet;” Sign Type #23
15    allows certain business identification “Wall Signs” to be from 175 square feet to 450
16    square feet; Sign Type #26 allows “auto dealer signs” to be 75-feet high and 1,100 square
17    feet per sign; Sign Type #33 allows “temporary future facility signs” to be 96 square feet;
18    Sign Type #36 allows “temporary model home directional signs” to be 36 square feet;
19    and Sign Type #109 allows “temporary contractor signs” to be 32 square feet.
20          50.    The City’s Sign Ordinance discriminates in other ways as well, including by
21    expressly exempting certain favored signs from any regulation, including any size
22    restrictions or time limitations. Section 7-2-2, Exempt Signs, Subsection A, provides:
23    “The following types of signs are exempt from application, permit and fee requirements
24    of this division.” Among the many exemptions given government favored speech include
25    the following: “official flags of the United States of America, the State of California, and
26    other states of the United States,” “flags of internationally and nationally recognized
27    organizations including nautical flags,” [c]orporate flags,” “[o]ff-premises commercial
28    signs erected or caused to be erected by the City,” and [s]igns specified in Section 7-3-3
29                                             COMPLAINT
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 1    as being exempt from permit requirement compliance.” Section 7-2-2.A.5, -.6, -.7, -.9.
 2          51.     In contrast to its favored speech, including its own commercial speech, the
 3    City mandates that, under Sign Type #106, Plaintiffs’ purported commercial speech
 4    banners be limited to 3 square feet and cannot be displayed before 7 am or after 7 pm.
 5          52.     Favoring some speakers, including government “commercial speech,” over
 6    others is a classic form of content discrimination. See Reed v. Town of Gilbert, 576 U.S.
 7    155 (2015).
 8          53.     The above-mentioned provisions of the City Sign Ordinance, both on their
 9    face and as applied, violate Plaintiffs’ free speech rights under the Federal and California
10    Constitutions and under statutory law.
11          54.     The above-referenced actions were taken by the City under the color of state
12    law and pursuant to the City’s ordinance, custom and policy associated with enforcing
13    such ordinance.
14          55.     There is an actual controversy between Plaintiffs and the City in that the
15    City has threatened and continues to threaten censorship, confiscation and/or citation as
16    long as Plaintiffs continue to peacefully display their labor dispute banners containing the
17    messages that they currently do.
18          56.     Title 42, Section 1988, of the United States Code provides the Plaintiffs with
19    an appropriate remedy for the City’ sanctions.
20                                        CLAIMS FOR RELIEF
21                                  FIRST CLAIM FOR RELIEF
22                   (Declaratory Relief Pursuant to 28 U.S.C. § 2201, et seq.)
23          57.     Plaintiffs incorporate by reference all preceding Paragraphs of the Complaint
24    as though fully set forth herein.
25          58.     An actual controversy exists between Plaintiffs and the City regarding the
26    City’s unconstitutional and statutorily prescribed sign ordinance, including the City’s
27    refusal to allow Plaintiffs to display a labor dispute banner on any public sidewalk within
28    the City unless it is only 3 sq. feet and is not displayed before 7 am or after 7 pm, and
29                                             COMPLAINT
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 1    have threatened confiscation of the banner and criminal citation for allegedly violating
 2    the City’s ordinance.
 3          59.    A declaratory judgment is necessary as Plaintiffs contend that the City has
 4    violated the Plaintiffs’ constitutional and statutory rights by threatening confiscation of
 5    the banner, criminal citation and/or fine for displaying its banners on a public sidewalk.
 6          60.    In light of the City’s ordinance, and threats by both the City attorney (Noam
 7    Duzman) and the City’s Code Enforcement department of continued enforcement of the
 8    City’s Sign Ordinance against Plaintiffs, which includes confiscation of the banner,
 9    criminal citation and fine, Plaintiffs have a reasonable expectation that the City will
10    continue to make such threats and actually do so if declaratory relief is not granted.
11          61.    Wherefore, Plaintiffs request a declaration that the Sign Ordinance,
12    including but not limited to Section 7-3-3, Sign Types #106 and #107, be declared
13    unconstitutional and violative of statutory laws as set forth below.
14                                SECOND CLAIM FOR RELIEF
15                         (Violation of Plaintiffs’ Constitutional Rights)
16          62.    Plaintiffs incorporate by reference all preceding Paragraphs of the Complaint
17    as though fully set forth herein.
18          63.    The foregoing facts demonstrate a discriminatory effect on Plaintiffs’ current
19    banner displays and discriminatory purpose by the City in enacting and enforcing the
20    Sign Ordinance against Plaintiffs’ current banner displays.
21          64.    By repeatedly denying Plaintiffs the right to display its labor dispute banner
22    on any public sidewalk within the City and threatening Plaintiffs with banner
23    confiscation, criminal citation and fines, the City has violated Plaintiffs’ First and
24    Fourteenth Amendment rights guaranteed by the United States Constitution and the free
25    speech provisions of the California Constitution.
26          65.    The City Ordinance, facially and as interpreted and applied by the City, deny
27    Plaintiffs of their federal and state law protected rights to peacefully display a labor
28    dispute banner on a public sidewalk, a traditional public forum.
29                                             COMPLAINT
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 1          66.    The Sign Ordinance is content-based because, inter alia, it targeted
 2    Plaintiffs’ current banners for censorship and regulation based on its message, it picks
 3    and chooses favored speech as seen in the pictures of advertising next to Plaintiffs’
 4    banner displays, and by exempting some signs from the City’s ordinance while imposing
 5    restrictions on other banners, like Plaintiffs, by inter alia mandating that they be no more
 6    than 3 sq. ft., a size that renders Plaintiffs’ banners useless as a speech medium to reach
 7    its intended audience.
 8          67.    The City’s conduct and content-based Sign Ordinance is subject to strict
 9    scrutiny which it cannot survive. The City cannot meet its burden to prove its interests
10    are compelling, that the ordinance is narrowly tailored or that the City used the least
11    restrictive means to achieve its goals.
12          68.    Even if the City’s Sign Ordinance were found to be not content-based
13    (which it is), the City’s sign ordinance still violates the First and Fourteenth Amendments
14    and the free speech provisions of the California Constitution because the City cannot
15    meet intermediate scrutiny. The City cannot meet its burden to demonstrate that the
16    ordinance is narrowly tailored to serve a significant government interest, and leaves open
17    other effective alternative forms of communication.
18                                 THIRD CLAIM FOR RELIEF
19         (Violation of Plaintiffs’ Federally Protected Rights Under 42 U.S.C. § 1983)
20          69.    Plaintiffs incorporate by reference all preceding Paragraphs of the Complaint
21    as though fully set forth herein.
22          70.    On or about February 2021, in violation of Plaintiffs’ protected rights under
23    federal and state constitutions and statutes, the City demanded Plaintiffs remove their
24    banner displays from the public sidewalk under threat of confiscation, criminal citation
25    and fine.
26          71.    The City claimed the banner was prohibited commercial speech, but later
27    concocted an after-the-fact justification to alternatively say maybe the banners are also
28    prohibited non-commercial speech even though the message on each banner did not
29                                              COMPLAINT
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 1    change.
 2           72.    The City previously allowed unmolested Plaintiffs past banners because the
 3    City approved of the message but now disagree with the message on the current banners.
 4    The City seeks to hide the fact that sex offenders live in the area and may render the area
 5    unsafe for woman and children, and thus undesireable.
 6           73.    The actions of the City, which acted under color of statute, ordinance,
 7    regulation, custom and usage, caused the violation of Plaintiffs’ constitutionally and
 8    statutorily protected rights.
 9                                     PRAYER FOR RELIEF
10           Based on the foregoing, Plaintiffs pray as follows:
11                                       First Claim for Relief
12           1.     For a judgment declaring that the City’s Sign Ordinance unconstitutional,
13    and the City’s actions against Plaintiffs constitute a violation of Plaintiffs’ rights under
14    the First and Fourteenth Amendments of the United States Constitution and the free
15    speech provisions of the California Constitution; that the actions of the City violated 42
16    U.S.C. § 1983; and that the challenged provisions of City’s Sign Ordinance is
17    unconstitutional both on its face and as applied to Plaintiffs in this matter.
18                                      Second Claim for Relief
19           2.     For preliminary and permanent injunctive relief enjoining the City, and its
20    officers, employees, representatives and agents, from prohibiting Plaintiff John Tafoya
21    and Plaintiff SWRCC, and its officers, employees, representatives and agents, from
22    displaying the banners at issue or any other type of similar banner on the City’s public
23    sidewalks based on the Sign Ordinance;
24           3.     For preliminary and permanent injunctive relief enjoining the City and its
25    officers, employees, representatives and agents from further violating Plaintiffs’
26    Constitutional and statutory rights;
27           4.     For an Order directing the City to stop making unlawful threats against
28    Plaintiffs;
29                                              COMPLAINT
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 1             5.    An award of actual damages to Plaintiffs in an amount to be determined at
 2    trial;
 3             6.    An award of punitive damages to Plaintiffs in an amount to be determined at
 4    trial;
 5             7.    An award of attorneys’ fees and costs to Plaintiffs; and
 6             8.    An award and order of any other relief which this Court deems just and
 7    proper.
 8                                       Third Claim for Relief
 9             9.    For preliminary and permanent injunctive relief enjoining the City and its
10    officers, employees, representatives and agents, from prohibiting Plaintiff John Tafoya
11    and Plaintiff SWRCC, and its officers, employees, representatives and agents, from
12    displaying the banners at issue or any other type of similar banner on the City’s public
13    sidewalks based on the Sign Ordinance;
14             10.   For preliminary and permanent injunctive relief enjoining the City from
15    further violating Plaintiffs’ Constitutional and statutory rights;
16             11.   For an Order directing the City to stop making unlawful threats against
17    Plaintiffs;
18             12.   An award of actual damages to Plaintiffs in an amount to be determined at
19    trial;
20             13.   An award of punitive damages to Plaintiffs in an amount to be determined at
21    trial;
22             14.   An award of attorneys’ fees and costs to Plaintiffs; and
23             15.   An award and order of any other relief which this Court deems just and
24    proper.
25    DATED: February 12, 2021                       DeCARLO & SHANLEY
                                                     A Professional Corporation
26
27                                               By: /s/ Daniel M. Shanley
28                                                   Daniel M. Shanley, Esq.

29                                              COMPLAINT
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                                                Yuliya S. Mirzoyan, Esq.
 1
 2                                              Attorneys for Plaintiffs SOUTHWEST
 3                                              REGIONAL COUNCIL OF
                                                CARPENTERS, and JOHN TAFOY
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 5
 6                                 DEMAND FOR JURY TRIAL
 7          Southwest Regional Council of Carpenters and John Tafoya demand trial by jury
 8    on all issues and claims herein.
 9    DATED: February 12, 2021                  DeCARLO & SHANLEY
10                                              A Professional Corporation

11                                          By: /s/ Daniel M. Shanley
12                                              Daniel M. Shanley, Esq.
                                                Yuliya S. Mirzoyan, Esq.
13
14                                              Attorneys for Plaintiffs SOUTHWEST
                                                REGIONAL COUNCIL OF
15                                              CARPENTERS, and JOHN TAFOY
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29                                         COMPLAINT
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